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                      1   THORPE SHWER, P.C.
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                      9
                     10                           UNITED STATES DISTRICT COURT

                     11                                      DISTRICT OF ARIZONA
THORPE SHWER, P.C.




                     12    Hualapai Indian Tribe of the Hualapai       NO. 3:24-cv-08154-DJH
                           Indian Reservation, Arizona,
                     13
                     14                         Plaintiff,                DEFENDANT-INTERVENOR
                                                                         ARIZONA LITHIUM LIMITED’S
                     15    v.                                                     ANSWER
                     16
                           Debra Haaland in her official capacity as
                     17    the United States Secretary of the
                           Interior; United States Bureau of Land
                     18    Management; Ray Suazo in his official
                     19    capacity as State Director of the United
                           States Bureau of Land Management; and
                     20    Amanda Dodson in her official capacity
                           as Field Office Manager of the United
                     21
                           States Bureau of Land Management
                     22    Kingman Field Office,
                     23                         Defendants.
                     24
                           Arizona Lithium Limited,
                     25
                                          Defendant-Intervenor.
                     26
                     27             Defendant-Intervenor Arizona Lithium Limited (“AZL”) by and through

                     28   undersigned counsel, hereby submits its Answer to the Complaint filed by Plaintiff


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                      1   Hualapai Indian Tribe of the Hualapai Indian Reservation, Arizona. AZL hereby admits,
                      2   denies, responds, and alleges as follows:
                      3                                      INTRODUCTION
                      4             1.   Responding to Paragraph 1, AZL lacks information or knowledge sufficient
                      5   to form a belief as to the truth of the allegations contained therein, and therefore denies
                      6   the same.
                      7             2.   Responding to Paragraph 2, AZL lacks information or knowledge sufficient
                      8   to form a belief as to the truth of the allegations contained therein, and therefore denies
                      9   the same.
                     10             3.   Responding to Paragraph 3, AZL lacks information or knowledge sufficient
                     11   to form a belief as to the truth of the allegations contained therein, and therefore denies
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                     12   the same.
                     13             4.   Responding to Paragraph 4, AZL lacks information or knowledge sufficient
                     14   to form a belief as to the truth of the allegations contained therein, and therefore denies
                     15   the same.
                     16             5.   Responding to Paragraph 5, AZL lacks information or knowledge sufficient
                     17   to form a belief as to the truth of the allegations contained therein, and therefore denies
                     18   the same.
                     19             6.   Responding to Paragraph 6, AZL lacks information or knowledge sufficient
                     20   to form a belief as to the truth of the allegations contained therein, and therefore denies
                     21   the same.
                     22             7.   Responding to Paragraph 7, AZL lacks information or knowledge sufficient
                     23   to form a belief as to the truth of the allegations contained therein, and therefore denies
                     24   the same.
                     25             8.   Responding to Paragraph 8, AZL lacks information or knowledge sufficient
                     26   to form a belief as to the truth of the allegations contained therein, and therefore denies
                     27   the same.
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                      1             9.    Responding to Paragraph 9, AZL lacks information or knowledge sufficient
                      2   to form a belief as to the truth of the allegations contained therein, and therefore denies
                      3   the same.
                      4                                JURISDICTION AND VENUE
                      5             10.   Responding to Paragraph 10, AZL lacks information or knowledge
                      6   sufficient to form a belief as to the truth of the allegations contained therein, and
                      7   therefore denies the same.
                      8             11.   Responding to Paragraph 11, AZL admits that jurisdiction is proper in this
                      9   Court. Responding to the remaining allegations in Paragraph 11, AZL lacks information
                     10   or knowledge sufficient to form a belief as to the truth of the allegations contained
                     11   therein, and therefore denies the same.
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                     12             12.   Responding to Paragraph 12, AZL admits that venue is proper in this Court.
                     13             13.   Responding to Paragraph 13, AZL lacks information or knowledge
                     14   sufficient to form a belief as to the truth of the allegations contained therein, and
                     15   therefore denies the same.
                     16                                             PARTIES
                     17             14.   Responding to Paragraph 14, AZL lacks information or knowledge
                     18   sufficient to form a belief as to the truth of the allegations contained therein, and
                     19   therefore denies the same.
                     20             15.   Responding to Paragraph 15, AZL lacks information or knowledge
                     21   sufficient to form a belief as to the truth of the allegations contained therein, and
                     22   therefore denies the same.
                     23             16.   Responding to Paragraph 16, AZL lacks information or knowledge
                     24   sufficient to form a belief as to the truth of the allegations contained therein, and
                     25   therefore denies the same.
                     26             17.   Responding to Paragraph 17, AZL lacks information or knowledge
                     27   sufficient to form a belief as to the truth of the allegations contained therein, and
                     28   therefore denies the same.

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                      1             18.   Responding to Paragraph 18, AZL lacks information or knowledge
                      2   sufficient to form a belief as to the truth of the allegations contained therein, and
                      3   therefore denies the same.
                      4             19.   Responding to Paragraph 19, AZL lacks information or knowledge
                      5   sufficient to form a belief as to the truth of the allegations contained therein, and
                      6   therefore denies the same.
                      7             20.   AZL admits the allegations in Paragraph 20.
                      8             21.   Responding to Paragraph 21, AZL admits Defendant Debra Haaland is the
                      9   U.S. Secretary of Interior. Responding to the remaining allegations in Paragraph 21, AZL
                     10   lacks information or knowledge sufficient to form a belief as to the truth of the
                     11   allegations contained therein, and therefore denies the same.
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                     12             22.   Responding to Paragraph 22, AZL admits Defendant Ray Suazo is sued in
                     13   his official capacity as the State Director of BLM in Arizona. Responding to the
                     14   remaining allegations in Paragraph 22, AZL lacks information or knowledge sufficient to
                     15   form a belief as to the truth of the allegations contained therein, and therefore denies the
                     16   same.
                     17             23.   Responding to Paragraph 23, AZL admits Amanda Dodson is the Field
                     18   Office Manager for BLM’s Kingman Field Office and that she signed the July 9, 2024
                     19   decision approving the Project’s Plan of Operations. Responding to the remaining
                     20   allegations in Paragraph 23, AZL lacks information or knowledge sufficient to form a
                     21   belief as to the truth of the allegations contained therein, and therefore denies the same.
                     22                                STATUTORY BACKGROUND
                     23             A.    National Historic Preservation Act of 1966
                     24             24.   Responding to Paragraph 24, AZL states that the allegations contained
                     25   therein are legal conclusions to which no response is required. To the extent a response is
                     26   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     27   of the allegations contained therein.
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                      1             25.   Responding to Paragraph 25, AZL states that the allegations contained
                      2   therein are legal conclusions to which no response is required. To the extent a response is
                      3   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                      4   of the allegations contained therein.
                      5             26.   Responding to Paragraph 26, AZL states that the allegations contained
                      6   therein are legal conclusions to which no response is required. To the extent a response is
                      7   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                      8   of the allegations contained therein.
                      9             27.   Responding to Paragraph 27, AZL states that the allegations contained
                     10   therein are legal conclusions to which no response is required. To the extent a response is
                     11   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
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                     12   of the allegations contained therein.
                     13             28.   Responding to Paragraph 28, AZL states that the allegations contained
                     14   therein are legal conclusions to which no response is required. To the extent a response is
                     15   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     16   of the allegations contained therein.
                     17             B.    National Environmental Policy Act
                     18             29.   Responding to Paragraph 29, AZL states that the allegations contained
                     19   therein are legal conclusions to which no response is required. To the extent a response is
                     20   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     21   of the allegations contained therein.
                     22             30.   Responding to Paragraph 30, AZL states that the allegations contained
                     23   therein are legal conclusions to which no response is required. To the extent a response is
                     24   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     25   of the allegations contained therein.
                     26             31.   Responding to Paragraph 31, AZL states that the allegations contained
                     27   therein are legal conclusions to which no response is required. To the extent a response is
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                      1   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                      2   of the allegations contained therein.
                      3             32.   Responding to Paragraph 32, AZL states that the allegations contained
                      4   therein are legal conclusions to which no response is required. To the extent a response is
                      5   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                      6   of the allegations contained therein.
                      7             33.   Responding to Paragraph 33, AZL states that the allegations contained
                      8   therein are legal conclusions to which no response is required. To the extent a response is
                      9   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     10   of the allegations contained therein.
                     11             34.   Responding to Paragraph 34, AZL states that the allegations contained
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                     12   therein are legal conclusions to which no response is required. To the extent a response is
                     13   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     14   of the allegations contained therein.
                     15             C.    Administrative Procedure Act (APA)
                     16             35.   Responding to Paragraph 35, AZL states that the allegations contained
                     17   therein are legal conclusions to which no response is required. To the extent a response is
                     18   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     19   of the allegations contained therein.
                     20             36.   Responding to Paragraph 36, AZL states that the allegations contained
                     21   therein are legal conclusions to which no response is required. To the extent a response is
                     22   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     23   of the allegations contained therein.
                     24             37.   Responding to Paragraph 37, AZL states that the allegations contained
                     25   therein are legal conclusions to which no response is required. To the extent a response is
                     26   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     27   of the allegations contained therein.
                     28                                 FACTUAL BACKGROUND

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                      1             A.    Ha’Kamwe’ and the Interconnected Cultural Landscape
                      2             38.   Responding to Paragraph 38, AZL lacks information or knowledge
                      3   sufficient to form a belief as to the truth of the allegations contained therein, and
                      4   therefore denies the same.
                      5             39.   Responding to Paragraph 39, AZL lacks information or knowledge
                      6   sufficient to form a belief as to the truth of the allegations contained therein, and
                      7   therefore denies the same.
                      8             40.   Responding to Paragraph 40, AZL lacks information or knowledge
                      9   sufficient to form a belief as to the truth of the allegations contained therein, and
                     10   therefore denies the same.
                     11             41.   Responding to Paragraph 41, AZL lacks information or knowledge
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                     12   sufficient to form a belief as to the truth of the allegations contained therein, and
                     13   therefore denies the same.
                     14             42.   Responding to Paragraph 42, AZL lacks information or knowledge
                     15   sufficient to form a belief as to the truth of the allegations contained therein, and
                     16   therefore denies the same.
                     17             43.   Responding to Paragraph 43, AZL lacks information or knowledge
                     18   sufficient to form a belief as to the truth of the allegations contained therein, and
                     19   therefore denies the same.
                     20             44.   Responding to Paragraph 44, AZL lacks information or knowledge
                     21   sufficient to form a belief as to the truth of the allegations contained therein, and
                     22   therefore denies the same.
                     23             B.    Previous Projects and Exploration at the Project Site
                     24             45.   Responding to Paragraph 45, AZL lacks information or knowledge
                     25   sufficient to form a belief as to the truth of the allegations contained therein, and
                     26   therefore denies the same.
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                      1             46.   Responding to Paragraph 46, AZL lacks information or knowledge
                      2   sufficient to form a belief as to the truth of the allegations contained therein, and
                      3   therefore denies the same.
                      4             47.   Responding to Paragraph 47, AZL lacks information or knowledge
                      5   sufficient to form a belief as to the truth of the allegations contained therein, and
                      6   therefore denies the same.
                      7             48.   Responding to Paragraph 48, AZL lacks information or knowledge
                      8   sufficient to form a belief as to the truth of the allegations contained therein, and
                      9   therefore denies the same.
                     10             49.   Responding to Paragraph 49, AZL admits that in 2018 and 2019, it
                     11   conducted two phases of exploratory drilling for lithium clay on BLM-managed public
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                     12   lands, under the name Hawkstone Mining, Ltd. Responding to the remaining allegations
                     13   in Paragraph 49, AZL lacks information or knowledge sufficient to form a belief as to the
                     14   truth of the allegations contained therein, and therefore denies the same.
                     15             50.   Responding to Paragraph 50, AZL admits that the company was previously
                     16   named Hawkstone Mining, Ltd. Responding to the remaining allegations in Paragraph 50,
                     17   AZL lacks information or knowledge sufficient to form a belief as to the truth of the
                     18   allegations contained therein, and therefore denies the same.
                     19             51.   AZL admits the allegations in Paragraph 51.
                     20             52.   AZL denies the allegations in Paragraph 52.
                     21             C.    Phase 3 Sandy Valley Exploration Project
                     22             53.   AZL admits the allegations in Paragraph 53.
                     23             54.   Responding to Paragraph 54, AZL admits that the Project included 131
                     24   drilling sites on approximately 21 acres of BLM-managed public lands to explore mining
                     25   claims for lithium and poly-metal minerals. Responding to the remaining allegations in
                     26   Paragraph 54, AZL lacks information or knowledge sufficient to form a belief as to the
                     27   truth of the allegations contained therein, and therefore denies the same.
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                      1             55.   Responding to Paragraph 55, AZL lacks information or knowledge
                      2   sufficient to form a belief as to the truth of the allegations contained therein, and
                      3   therefore denies the same.
                      4             56.   Responding to Paragraph 56, AZL lacks information or knowledge
                      5   sufficient to form a belief as to the truth of the allegations contained therein, and
                      6   therefore denies the same.
                      7             57.   Responding to Paragraph 57, AZL lacks information or knowledge
                      8   sufficient to form a belief as to the truth of the allegations contained therein, and
                      9   therefore denies the same.
                     10             58.   Responding to Paragraph 58, AZL lacks information or knowledge
                     11   sufficient to form a belief as to the truth of the allegations contained therein, and
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                     12   therefore denies the same.
                     13             59.   Responding to Paragraph 59, AZL lacks information or knowledge
                     14   sufficient to form a belief as to the truth of the allegations contained therein, and
                     15   therefore denies the same.
                     16             60.   Responding to Paragraph 60, AZL lacks information or knowledge
                     17   sufficient to form a belief as to the truth of the allegations contained therein, and
                     18   therefore denies the same.
                     19             61.   Responding to Paragraph 61, AZL lacks information or knowledge
                     20   sufficient to form a belief as to the truth of the allegations contained therein, and
                     21   therefore denies the same.
                     22             62.   Responding to Paragraph 62, AZL lacks information or knowledge
                     23   sufficient to form a belief as to the truth of the allegations contained therein, and
                     24   therefore denies the same.
                     25             63.   Responding to Paragraph 63, AZL lacks information or knowledge
                     26   sufficient to form a belief as to the truth of the allegations contained therein, and
                     27   therefore denies the same. AZL denies the allegation that BLM’s analysis in the Final EA
                     28   lacks credible evidence.

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                      1             64.   Responding to Paragraph 64, AZL lacks information or knowledge
                      2   sufficient to form a belief as to the truth of the allegations contained therein, and
                      3   therefore denies the same.
                      4             65.   Responding to Paragraph 65, AZL lacks information or knowledge
                      5   sufficient to form a belief as to the truth of the allegations contained therein, and
                      6   therefore denies the same.
                      7             66.   Responding to Paragraph 66, AZL lacks information or knowledge
                      8   sufficient to form a belief as to the truth of the allegations contained therein, and
                      9   therefore denies the same.
                     10             67.   Responding to Paragraph 67, AZL lacks information or knowledge
                     11   sufficient to form a belief as to the truth of the allegations contained therein, and
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                     12   therefore denies the same.
                     13             68.   Responding to Paragraph 68, AZL admits that the Final EA provides that if
                     14   a water intersection occurs during the drilling process, then the hole will be plugged.
                     15   Responding to the remaining allegations in Paragraph 68, AZL lacks information or
                     16   knowledge sufficient to form a belief as to the truth of the allegations contained therein,
                     17   and therefore denies the same.
                     18             69.   Responding to Paragraph 69, AZL lacks information or knowledge
                     19   sufficient to form a belief as to the truth of the allegations contained therein, and
                     20   therefore denies the same.
                     21                                 FIRST CLAIM FOR RELIEF
                     22       Violation of the NHPA: Erroneous Finding of No Historic Properties Affected
                     23             70.   AZL hereby incorporates all proceeding Paragraphs above as if fully set
                     24   forth herein.
                     25             71.   Responding to Paragraph 71, AZL states that the allegations contained
                     26   therein are legal conclusions to which no response is required. To the extent a response is
                     27   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     28   of the allegations contained therein.

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                      1             72.   Responding to Paragraph 72, AZL states that the allegations contained
                      2   therein are legal conclusions to which no response is required. To the extent a response is
                      3   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                      4   of the allegations contained therein.
                      5             73.   Responding to Paragraph 73, AZL lacks information or knowledge
                      6   sufficient to form a belief as to the truth of the allegations contained therein, and
                      7   therefore denies the same.
                      8             74.   Responding to Paragraph 74, AZL lacks information or knowledge
                      9   sufficient to form a belief as to the truth of the allegations contained therein, and
                     10   therefore denies the same.
                     11             75.   AZL denies the allegations in Paragraph 75.
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                     12                                SECOND CLAIM FOR RELIEF
                     13        Violation of NEPA: Failure to Consider a Reasonable Range of Alternatives
                     14             76.   AZL hereby incorporates all proceeding Paragraphs above as if fully set
                     15   forth herein.
                     16             77.   Responding to Paragraph 77, AZL states that the allegations contained
                     17   therein are legal conclusions to which no response is required. To the extent a response is
                     18   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     19   of the allegations contained therein.
                     20             78.   Responding to Paragraph 78, AZL denies the allegation that the Final EA
                     21   unlawfully fails to consider a reasonable range of alternatives. Responding to the
                     22   remaining allegations in Paragraph 78, AZL lacks information or knowledge sufficient to
                     23   form a belief as to the truth of the allegations contained therein, and therefore denies the
                     24   same.
                     25             79.   Responding to Paragraph 79, AZL lacks information or knowledge
                     26   sufficient to form a belief as to the truth of the allegations contained therein, and
                     27   therefore denies the same.
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                      1             80.   Responding to Paragraph 80, AZL lacks information or knowledge
                      2   sufficient to form a belief as to the truth of the allegations contained therein, and
                      3   therefore denies the same.
                      4                                 THIRD CLAIM FOR RELIEF
                      5     Violation of NEPA: Failure to Take a Hard Look at Impacts on Water Resources
                      6             81.   AZL hereby incorporates all proceeding Paragraphs above as if fully set
                      7   forth herein.
                      8             82.   Responding to Paragraph 82, AZL states that the allegations contained
                      9   therein are legal conclusions to which no response is required. To the extent a response is
                     10   required, AZL lacks information or knowledge sufficient to form a belief as to the truth
                     11   of the allegations contained therein.
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                     12             83.   AZL denies the allegations in Paragraph 83.
                     13             84.   AZL denies the allegations in Paragraph 84.
                     14             85.   AZL denies Plaintiff is entitled to any of the relief sought in its
                     15   unnumbered “Request for Relief.”
                     16             86.   AZL affirmatively asserts and alleges that it is entitled to an adjudication
                     17   affirming BLM’s approval of the DR, FONSI, and Final EA and authorization of the
                     18   Project.
                     19             87.   AZL affirmatively asserts that BLM acted appropriately and followed the
                     20   governing law when it issued the DR, FONSI, and Final EA.
                     21             88.   AZL affirmatively asserts that in issuing the DR, FONSI, and Final EA,
                     22   BLM did not act in a manner that was arbitrary, capricious, or contrary to law when it
                     23   made those findings and authorized the Project to proceed.
                     24                                       GENERAL DENIAL
                     25             AZL denies each and every allegation of Plaintiff’s Complaint not specifically
                     26   admitted herein.
                     27                                  AFFIRMATIVE DEFENSES
                     28             1.    Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

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                      1             2.    Preliminary and permanent injunctive relief should not be awarded as
                      2   BLM’s Project approval was proper.
                      3             3.    Plaintiff has failed to join a party or parties necessary and indispensable to
                      4   this action.
                      5             4.    Some or all of Plaintiff’s claims are barred by statute.
                      6             5.    Plaintiff lacks standing to assert some or all of their claims.
                      7             6.    AZL reserves the right to assert all additional affirmative defenses
                      8   available, including all defenses set forth in Federal Rules of Civil Procedure 8(c) and 12.
                      9
                     10             WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant-
                     11   Intervenor Arizona Lithium Limited respectfully demands judgment in its favor,
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                     12   including an adjudication that BLM’s Decision Record, Finding of No Significant
                     13   Impact, and Final Environmental Assessment were properly issued and that the Project is
                     14   authorized to continue as approved. Defendant-Intervenor Arizona Lithium Limited
                     15   further seeks a judgment awarding costs incurred and any other relief, including
                     16   attorney’s fees, available under law.
                     17             DATED this 9th day of October, 2024.
                     18                                                THORPE SHWER, P.C.
                     19
                     20                                                By /s/ William L. Thorpe
                                                                         William L. Thorpe
                     21
                                                                         Mitchell W. Fleischmann
                     22                                                  Bree G. Nevarez
                                                                         Attorneys for Defendant-Intervenor Arizona
                     23                                                  Lithium Limited
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                     25
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                      1                                 CERTIFICATE OF SERVICE
                      2             I hereby certify that on this 9th day of October, 2024, the foregoing document was

                      3   electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and

                      4   transmittal of a Notice of Electronic Filing, to the following CM/ECF registrants:

                      5                                           Laura Berglan
                      6                                           Heidi McIntosh
                                                                Thomas Delehanty
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                                                                Roger Flynn
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                     12                                      Jeffrey C. Parsons
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                     21                                  Daniel.luecke@usdoj.gov
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                     22
                                                    Attorneys for Defendants Debra Haaland;
                     23                            United States Bureau of Land Management;
                                                        Ray Suazo; and Amanda Dodson
                     24
                     25                                               /s/ Brandi Kline
                     26                                                  Legal Assistant

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